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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                      PENDLETON DIVISION



OREGON NATURAL DESERT ASS'N                           Case No. 2:07-cv-1871-HA
eta/.,                                                [Related Case No. 3:03-cv-381-HA]
                                                      [Related Case No. 2:08-cv-151-HA]
                        Plaintiffs,
         v.                                                   ~·
                                                      [PROPOOEBJ ORDER
TOM TIDWELL, et al.,

                        Defendants,
         v.

OREGON CATTLEMEN'S ASS'N, eta/.,

                        Defendant-Intervenors.


HAGGERTY, District Judge:

         On July 2, 2013, the court entered an Order [686] granting in pmi and denying in part

plaintiffs' Motion for Attorney Fees [664]. The couti ordered plaintiffs to prepare a proposed

order awarding the fees and costs as reduced by the Order, and, prior to submitting the proposed

order, to provide federal defendants with seven days to object to any calculations conducted by

plaintiffs. Now, the parties having followed my instructions as set out in the July 2, 2013 Order,


                                        [PROPOSED] ORDER
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        IT IS ORDERED that plaintiffs are awarded the sum of$1,136,728.77 for attorney fees

and the sum of$114,179.01 for costs.

        DATED this _     _.<{'------_ day of   dl~a~              '2013.




                                                   ~;(~~    Ancer L. Haggerty
                                                        United States District Judge




SUBMITTED BY:


s/ Peter M. Lacy

Peter M. Lacy (OSB # 01322)

Of Attorneys for Plaintiffs




                                         [PROPOSED] ORDER
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